     Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 1 of 492




EXHIBIT_FIVE_001
EXHIBIT_FIVE
     Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 2 of 492




EXHIBIT_FIVE_002
EXHIBIT_FIVE
     Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 3 of 492




EXHIBIT_FIVE_003
EXHIBIT_FIVE
     Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 4 of 492




EXHIBIT_FIVE_004
EXHIBIT_FIVE
     Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 5 of 492




EXHIBIT_FIVE_005
EXHIBIT_FIVE
     Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 6 of 492




EXHIBIT_FIVE_006
EXHIBIT_FIVE
     Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 7 of 492




EXHIBIT_FIVE_007
EXHIBIT_FIVE
     Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 8 of 492




EXHIBIT_FIVE_008
EXHIBIT_FIVE
     Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 9 of 492




EXHIBIT_FIVE_009
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 10 of 492




EXHIBIT_FIVE_010
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 11 of 492




EXHIBIT_FIVE_011
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 12 of 492




EXHIBIT_FIVE_012
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 13 of 492




EXHIBIT_FIVE_013
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 14 of 492




EXHIBIT_FIVE_014
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 15 of 492




EXHIBIT_FIVE_015
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 16 of 492




EXHIBIT_FIVE_016
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 17 of 492




EXHIBIT_FIVE_017
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 18 of 492




EXHIBIT_FIVE_018
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 19 of 492




EXHIBIT_FIVE_019
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 20 of 492




EXHIBIT_FIVE_020
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 21 of 492




EXHIBIT_FIVE_021
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 22 of 492




EXHIBIT_FIVE_022
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 23 of 492




EXHIBIT_FIVE_023
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 24 of 492




EXHIBIT_FIVE_024
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 25 of 492




EXHIBIT_FIVE_025
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 26 of 492




EXHIBIT_FIVE_026
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 27 of 492




EXHIBIT_FIVE_027
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 28 of 492




EXHIBIT_FIVE_028
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 29 of 492




EXHIBIT_FIVE_029
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 30 of 492




EXHIBIT_FIVE_030
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 31 of 492




EXHIBIT_FIVE_031
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 32 of 492




EXHIBIT_FIVE_032
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 33 of 492




EXHIBIT_FIVE_033
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 34 of 492




EXHIBIT_FIVE_034
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 35 of 492




EXHIBIT_FIVE_035
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 36 of 492




EXHIBIT_FIVE_036
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 37 of 492




EXHIBIT_FIVE_037
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 38 of 492




EXHIBIT_FIVE_038
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 39 of 492




EXHIBIT_FIVE_039
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 40 of 492




EXHIBIT_FIVE_040
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 41 of 492




EXHIBIT_FIVE_041
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 42 of 492




EXHIBIT_FIVE_042
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 43 of 492




EXHIBIT_FIVE_043
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 44 of 492




EXHIBIT_FIVE_044
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 45 of 492




EXHIBIT_FIVE_045
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 46 of 492




EXHIBIT_FIVE_046
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 47 of 492




EXHIBIT_FIVE_047
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 48 of 492




EXHIBIT_FIVE_048
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 49 of 492




EXHIBIT_FIVE_049
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 50 of 492




EXHIBIT_FIVE_050
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 51 of 492




EXHIBIT_FIVE_051
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 52 of 492




EXHIBIT_FIVE_052
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 53 of 492




EXHIBIT_FIVE_053
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 54 of 492




EXHIBIT_FIVE_054
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 55 of 492




EXHIBIT_FIVE_055
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 56 of 492




EXHIBIT_FIVE_056
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 57 of 492




EXHIBIT_FIVE_057
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 58 of 492




EXHIBIT_FIVE_058
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 59 of 492




EXHIBIT_FIVE_059
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 60 of 492




EXHIBIT_FIVE_060
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 61 of 492




EXHIBIT_FIVE_061
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 62 of 492




EXHIBIT_FIVE_062
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 63 of 492




EXHIBIT_FIVE_063
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 64 of 492




EXHIBIT_FIVE_064
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 65 of 492




EXHIBIT_FIVE_065
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 66 of 492




EXHIBIT_FIVE_066
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 67 of 492




EXHIBIT_FIVE_067
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 68 of 492




EXHIBIT_FIVE_068
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 69 of 492




EXHIBIT_FIVE_069
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 70 of 492




EXHIBIT_FIVE_070
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 71 of 492




EXHIBIT_FIVE_071
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 72 of 492




EXHIBIT_FIVE_072
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 73 of 492




EXHIBIT_FIVE_073
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 74 of 492




EXHIBIT_FIVE_074
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 75 of 492




EXHIBIT_FIVE_075
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 76 of 492




EXHIBIT_FIVE_076
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 77 of 492




EXHIBIT_FIVE_077
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 78 of 492




EXHIBIT_FIVE_078
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 79 of 492




EXHIBIT_FIVE_079
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 80 of 492




EXHIBIT_FIVE_080
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 81 of 492




EXHIBIT_FIVE_081
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 82 of 492




EXHIBIT_FIVE_082
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 83 of 492




EXHIBIT_FIVE_083
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 84 of 492




EXHIBIT_FIVE_084
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 85 of 492




EXHIBIT_FIVE_085
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 86 of 492




EXHIBIT_FIVE_086
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 87 of 492




EXHIBIT_FIVE_087
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 88 of 492




EXHIBIT_FIVE_088
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 89 of 492




EXHIBIT_FIVE_089
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 90 of 492




EXHIBIT_FIVE_090
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 91 of 492




EXHIBIT_FIVE_091
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 92 of 492




EXHIBIT_FIVE_092
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 93 of 492




EXHIBIT_FIVE_093
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 94 of 492




EXHIBIT_FIVE_094
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 95 of 492




EXHIBIT_FIVE_095
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 96 of 492




EXHIBIT_FIVE_096
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 97 of 492




EXHIBIT_FIVE_097
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 98 of 492




EXHIBIT_FIVE_098
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 99 of 492




EXHIBIT_FIVE_099
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 100 of 492




EXHIBIT_FIVE_100
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 101 of 492




EXHIBIT_FIVE_101
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 102 of 492




EXHIBIT_FIVE_102
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 103 of 492




EXHIBIT_FIVE_103
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 104 of 492




EXHIBIT_FIVE_104
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 105 of 492




EXHIBIT_FIVE_105
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 106 of 492




EXHIBIT_FIVE_106
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 107 of 492




EXHIBIT_FIVE_107
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 108 of 492




EXHIBIT_FIVE_108
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 109 of 492




EXHIBIT_FIVE_109
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 110 of 492




EXHIBIT_FIVE_110
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 111 of 492




EXHIBIT_FIVE_111
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 112 of 492




EXHIBIT_FIVE_112
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 113 of 492




EXHIBIT_FIVE_113
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 114 of 492




EXHIBIT_FIVE_114
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 115 of 492




EXHIBIT_FIVE_115
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 116 of 492




EXHIBIT_FIVE_116
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 117 of 492




EXHIBIT_FIVE_117
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 118 of 492




EXHIBIT_FIVE_118
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 119 of 492




EXHIBIT_FIVE_119
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 120 of 492




EXHIBIT_FIVE_120
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 121 of 492




EXHIBIT_FIVE_121
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 122 of 492




EXHIBIT_FIVE_122
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 123 of 492




EXHIBIT_FIVE_123
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 124 of 492




EXHIBIT_FIVE_124
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 125 of 492




EXHIBIT_FIVE_125
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 126 of 492




EXHIBIT_FIVE_126
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 127 of 492




EXHIBIT_FIVE_127
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 128 of 492




EXHIBIT_FIVE_128
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 129 of 492




EXHIBIT_FIVE_129
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 130 of 492




EXHIBIT_FIVE_130
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 131 of 492




EXHIBIT_FIVE_131
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 132 of 492




EXHIBIT_FIVE_132
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 133 of 492




EXHIBIT_FIVE_133
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 134 of 492




EXHIBIT_FIVE_134
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 135 of 492




EXHIBIT_FIVE_135
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 136 of 492




EXHIBIT_FIVE_136
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 137 of 492




EXHIBIT_FIVE_137
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 138 of 492




EXHIBIT_FIVE_138
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 139 of 492




EXHIBIT_FIVE_139
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 140 of 492




EXHIBIT_FIVE_140
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 141 of 492




EXHIBIT_FIVE_141
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 142 of 492




EXHIBIT_FIVE_142
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 143 of 492




EXHIBIT_FIVE_143
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 144 of 492




EXHIBIT_FIVE_144
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 145 of 492




EXHIBIT_FIVE_145
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 146 of 492




EXHIBIT_FIVE_146
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 147 of 492




EXHIBIT_FIVE_147
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 148 of 492




EXHIBIT_FIVE_148
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 149 of 492




EXHIBIT_FIVE_149
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 150 of 492




EXHIBIT_FIVE_150
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 151 of 492




EXHIBIT_FIVE_151
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 152 of 492




EXHIBIT_FIVE_152
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 153 of 492




EXHIBIT_FIVE_153
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 154 of 492




EXHIBIT_FIVE_154
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 155 of 492




EXHIBIT_FIVE_155
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 156 of 492




EXHIBIT_FIVE_156
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 157 of 492




EXHIBIT_FIVE_157
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 158 of 492




EXHIBIT_FIVE_158
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 159 of 492




EXHIBIT_FIVE_159
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 160 of 492




EXHIBIT_FIVE_160
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 161 of 492




EXHIBIT_FIVE_161
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 162 of 492




EXHIBIT_FIVE_162
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 163 of 492




EXHIBIT_FIVE_163
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 164 of 492




EXHIBIT_FIVE_164
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 165 of 492




EXHIBIT_FIVE_165
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 166 of 492




EXHIBIT_FIVE_166
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 167 of 492




EXHIBIT_FIVE_167
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 168 of 492




EXHIBIT_FIVE_168
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 169 of 492




EXHIBIT_FIVE_169
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 170 of 492




EXHIBIT_FIVE_170
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 171 of 492




EXHIBIT_FIVE_171
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 172 of 492




EXHIBIT_FIVE_172
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 173 of 492




EXHIBIT_FIVE_173
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 174 of 492




EXHIBIT_FIVE_174
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 175 of 492




EXHIBIT_FIVE_175
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 176 of 492




EXHIBIT_FIVE_176
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 177 of 492




EXHIBIT_FIVE_177
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 178 of 492




EXHIBIT_FIVE_178
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 179 of 492




EXHIBIT_FIVE_179
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 180 of 492




EXHIBIT_FIVE_180
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 181 of 492




EXHIBIT_FIVE_181
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 182 of 492




EXHIBIT_FIVE_182
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 183 of 492




EXHIBIT_FIVE_183
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 184 of 492




EXHIBIT_FIVE_184
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 185 of 492




EXHIBIT_FIVE_185
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 186 of 492




EXHIBIT_FIVE_186
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 187 of 492




EXHIBIT_FIVE_187
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 188 of 492




EXHIBIT_FIVE_188
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 189 of 492




EXHIBIT_FIVE_189
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 190 of 492




EXHIBIT_FIVE_190
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 191 of 492




EXHIBIT_FIVE_191
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 192 of 492




EXHIBIT_FIVE_192
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 193 of 492




EXHIBIT_FIVE_193
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 194 of 492




EXHIBIT_FIVE_194
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 195 of 492




EXHIBIT_FIVE_195
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 196 of 492




EXHIBIT_FIVE_196
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 197 of 492




EXHIBIT_FIVE_197
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 198 of 492




EXHIBIT_FIVE_198
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 199 of 492




EXHIBIT_FIVE_199
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 200 of 492




EXHIBIT_FIVE_200
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 201 of 492




EXHIBIT_FIVE_201
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 202 of 492




EXHIBIT_FIVE_202
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 203 of 492




EXHIBIT_FIVE_203
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 204 of 492




EXHIBIT_FIVE_204
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 205 of 492




EXHIBIT_FIVE_205
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 206 of 492




EXHIBIT_FIVE_206
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 207 of 492




EXHIBIT_FIVE_207
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 208 of 492




EXHIBIT_FIVE_208
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 209 of 492




EXHIBIT_FIVE_209
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 210 of 492




EXHIBIT_FIVE_210
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 211 of 492




EXHIBIT_FIVE_211
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 212 of 492




EXHIBIT_FIVE_212
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 213 of 492




EXHIBIT_FIVE_213
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 214 of 492




EXHIBIT_FIVE_214
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 215 of 492




EXHIBIT_FIVE_215
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 216 of 492




EXHIBIT_FIVE_216
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 217 of 492




EXHIBIT_FIVE_217
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 218 of 492




EXHIBIT_FIVE_218
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 219 of 492




EXHIBIT_FIVE_219
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 220 of 492




EXHIBIT_FIVE_220
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 221 of 492




EXHIBIT_FIVE_221
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 222 of 492




EXHIBIT_FIVE_222
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 223 of 492




EXHIBIT_FIVE_223
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 224 of 492




EXHIBIT_FIVE_224
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 225 of 492




EXHIBIT_FIVE_225
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 226 of 492




EXHIBIT_FIVE_226
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 227 of 492




EXHIBIT_FIVE_227
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 228 of 492




EXHIBIT_FIVE_228
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 229 of 492




EXHIBIT_FIVE_229
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 230 of 492




EXHIBIT_FIVE_230
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 231 of 492




EXHIBIT_FIVE_231
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 232 of 492




EXHIBIT_FIVE_232
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 233 of 492




EXHIBIT_FIVE_233
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 234 of 492




EXHIBIT_FIVE_234
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 235 of 492




EXHIBIT_FIVE_235
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 236 of 492




EXHIBIT_FIVE_236
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 237 of 492




EXHIBIT_FIVE_237
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 238 of 492




EXHIBIT_FIVE_238
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 239 of 492




EXHIBIT_FIVE_239
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 240 of 492




EXHIBIT_FIVE_240
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 241 of 492




EXHIBIT_FIVE_241
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 242 of 492




EXHIBIT_FIVE_242
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 243 of 492




EXHIBIT_FIVE_243
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 244 of 492




EXHIBIT_FIVE_244
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 245 of 492




EXHIBIT_FIVE_245
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 246 of 492




EXHIBIT_FIVE_246
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 247 of 492




EXHIBIT_FIVE_247
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 248 of 492




EXHIBIT_FIVE_248
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 249 of 492




EXHIBIT_FIVE_249
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 250 of 492




EXHIBIT_FIVE_250
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 251 of 492




EXHIBIT_FIVE_251
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 252 of 492




EXHIBIT_FIVE_252
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 253 of 492




EXHIBIT_FIVE_253
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 254 of 492




EXHIBIT_FIVE_254
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 255 of 492




EXHIBIT_FIVE_255
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 256 of 492




EXHIBIT_FIVE_256
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 257 of 492




EXHIBIT_FIVE_257
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 258 of 492




EXHIBIT_FIVE_258
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 259 of 492




EXHIBIT_FIVE_259
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 260 of 492




EXHIBIT_FIVE_260
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 261 of 492




EXHIBIT_FIVE_261
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 262 of 492




EXHIBIT_FIVE_262
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 263 of 492




EXHIBIT_FIVE_263
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 264 of 492




EXHIBIT_FIVE_264
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 265 of 492




EXHIBIT_FIVE_265
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 266 of 492




EXHIBIT_FIVE_266
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 267 of 492




EXHIBIT_FIVE_267
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 268 of 492




EXHIBIT_FIVE_268
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 269 of 492




EXHIBIT_FIVE_269
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 270 of 492




EXHIBIT_FIVE_270
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 271 of 492




EXHIBIT_FIVE_271
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 272 of 492




EXHIBIT_FIVE_272
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 273 of 492




EXHIBIT_FIVE_273
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 274 of 492




EXHIBIT_FIVE_274
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 275 of 492




EXHIBIT_FIVE_275
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 276 of 492




EXHIBIT_FIVE_276
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 277 of 492




EXHIBIT_FIVE_277
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 278 of 492




EXHIBIT_FIVE_278
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 279 of 492




EXHIBIT_FIVE_279
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 280 of 492




EXHIBIT_FIVE_280
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 281 of 492




EXHIBIT_FIVE_281
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 282 of 492




EXHIBIT_FIVE_282
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 283 of 492




EXHIBIT_FIVE_283
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 284 of 492




EXHIBIT_FIVE_284
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 285 of 492




EXHIBIT_FIVE_285
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 286 of 492




EXHIBIT_FIVE_286
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 287 of 492




EXHIBIT_FIVE_287
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 288 of 492




EXHIBIT_FIVE_288
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 289 of 492




EXHIBIT_FIVE_289
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 290 of 492




EXHIBIT_FIVE_290
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 291 of 492




EXHIBIT_FIVE_291
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 292 of 492




EXHIBIT_FIVE_292
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 293 of 492




EXHIBIT_FIVE_293
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 294 of 492




EXHIBIT_FIVE_294
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 295 of 492




EXHIBIT_FIVE_295
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 296 of 492




EXHIBIT_FIVE_296
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 297 of 492




EXHIBIT_FIVE_297
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 298 of 492




EXHIBIT_FIVE_298
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 299 of 492




EXHIBIT_FIVE_299
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 300 of 492




EXHIBIT_FIVE_300
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 301 of 492




EXHIBIT_FIVE_301
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 302 of 492




EXHIBIT_FIVE_302
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 303 of 492




EXHIBIT_FIVE_303
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 304 of 492




EXHIBIT_FIVE_304
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 305 of 492




EXHIBIT_FIVE_305
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 306 of 492




EXHIBIT_FIVE_306
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 307 of 492




EXHIBIT_FIVE_307
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 308 of 492




EXHIBIT_FIVE_308
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 309 of 492




EXHIBIT_FIVE_309
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 310 of 492




EXHIBIT_FIVE_310
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 311 of 492




EXHIBIT_FIVE_311
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 312 of 492




EXHIBIT_FIVE_312
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 313 of 492




EXHIBIT_FIVE_313
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 314 of 492




EXHIBIT_FIVE_314
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 315 of 492




EXHIBIT_FIVE_315
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 316 of 492




EXHIBIT_FIVE_316
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 317 of 492




EXHIBIT_FIVE_317
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 318 of 492




EXHIBIT_FIVE_318
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 319 of 492




EXHIBIT_FIVE_319
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 320 of 492




EXHIBIT_FIVE_320
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 321 of 492




EXHIBIT_FIVE_321
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 322 of 492




EXHIBIT_FIVE_322
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 323 of 492




EXHIBIT_FIVE_323
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 324 of 492




EXHIBIT_FIVE_324
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 325 of 492




EXHIBIT_FIVE_325
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 326 of 492




EXHIBIT_FIVE_326
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 327 of 492




EXHIBIT_FIVE_327
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 328 of 492




EXHIBIT_FIVE_328
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 329 of 492




EXHIBIT_FIVE_329
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 330 of 492




EXHIBIT_FIVE_330
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 331 of 492




EXHIBIT_FIVE_331
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 332 of 492




EXHIBIT_FIVE_332
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 333 of 492




EXHIBIT_FIVE_333
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 334 of 492




EXHIBIT_FIVE_334
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 335 of 492




EXHIBIT_FIVE_335
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 336 of 492




EXHIBIT_FIVE_336
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 337 of 492




EXHIBIT_FIVE_337
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 338 of 492




EXHIBIT_FIVE_338
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 339 of 492




EXHIBIT_FIVE_339
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 340 of 492




EXHIBIT_FIVE_340
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 341 of 492




EXHIBIT_FIVE_341
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 342 of 492




EXHIBIT_FIVE_342
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 343 of 492




EXHIBIT_FIVE_343
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 344 of 492




EXHIBIT_FIVE_344
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 345 of 492




EXHIBIT_FIVE_345
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 346 of 492




EXHIBIT_FIVE_346
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 347 of 492




EXHIBIT_FIVE_347
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 348 of 492




EXHIBIT_FIVE_348
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 349 of 492




EXHIBIT_FIVE_349
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 350 of 492




EXHIBIT_FIVE_350
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 351 of 492




EXHIBIT_FIVE_351
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 352 of 492




EXHIBIT_FIVE_352
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 353 of 492




EXHIBIT_FIVE_353
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 354 of 492




EXHIBIT_FIVE_354
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 355 of 492




EXHIBIT_FIVE_355
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 356 of 492




EXHIBIT_FIVE_356
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 357 of 492




EXHIBIT_FIVE_357
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 358 of 492




EXHIBIT_FIVE_358
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 359 of 492




EXHIBIT_FIVE_359
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 360 of 492




EXHIBIT_FIVE_360
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 361 of 492




EXHIBIT_FIVE_361
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 362 of 492




EXHIBIT_FIVE_362
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 363 of 492




EXHIBIT_FIVE_363
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 364 of 492




EXHIBIT_FIVE_364
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 365 of 492




EXHIBIT_FIVE_365
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 366 of 492




EXHIBIT_FIVE_366
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 367 of 492




EXHIBIT_FIVE_367
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 368 of 492




EXHIBIT_FIVE_368
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 369 of 492




EXHIBIT_FIVE_369
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 370 of 492




EXHIBIT_FIVE_370
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 371 of 492




EXHIBIT_FIVE_371
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 372 of 492




EXHIBIT_FIVE_372
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 373 of 492




EXHIBIT_FIVE_373
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 374 of 492




EXHIBIT_FIVE_374
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 375 of 492




EXHIBIT_FIVE_375
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 376 of 492




EXHIBIT_FIVE_376
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 377 of 492




EXHIBIT_FIVE_377
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 378 of 492




EXHIBIT_FIVE_378
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 379 of 492




EXHIBIT_FIVE_379
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 380 of 492




EXHIBIT_FIVE_380
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 381 of 492




EXHIBIT_FIVE_381
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 382 of 492




EXHIBIT_FIVE_382
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 383 of 492




EXHIBIT_FIVE_383
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 384 of 492




EXHIBIT_FIVE_384
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 385 of 492




EXHIBIT_FIVE_385
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 386 of 492




EXHIBIT_FIVE_386
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 387 of 492




EXHIBIT_FIVE_387
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 388 of 492




EXHIBIT_FIVE_388
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 389 of 492




EXHIBIT_FIVE_389
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 390 of 492




EXHIBIT_FIVE_390
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 391 of 492




EXHIBIT_FIVE_391
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 392 of 492




EXHIBIT_FIVE_392
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 393 of 492




EXHIBIT_FIVE_393
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 394 of 492




EXHIBIT_FIVE_394
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 395 of 492




EXHIBIT_FIVE_395
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 396 of 492




EXHIBIT_FIVE_396
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 397 of 492




EXHIBIT_FIVE_397
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 398 of 492




EXHIBIT_FIVE_398
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 399 of 492




EXHIBIT_FIVE_399
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 400 of 492




EXHIBIT_FIVE_400
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 401 of 492




EXHIBIT_FIVE_401
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 402 of 492




EXHIBIT_FIVE_402
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 403 of 492




EXHIBIT_FIVE_403
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 404 of 492




EXHIBIT_FIVE_404
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 405 of 492




EXHIBIT_FIVE_405
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 406 of 492




EXHIBIT_FIVE_406
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 407 of 492




EXHIBIT_FIVE_407
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 408 of 492




EXHIBIT_FIVE_408
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 409 of 492




EXHIBIT_FIVE_409
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 410 of 492




EXHIBIT_FIVE_410
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 411 of 492




EXHIBIT_FIVE_411
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 412 of 492




EXHIBIT_FIVE_412
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 413 of 492




EXHIBIT_FIVE_413
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 414 of 492




EXHIBIT_FIVE_414
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 415 of 492




EXHIBIT_FIVE_415
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 416 of 492




EXHIBIT_FIVE_416
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 417 of 492




EXHIBIT_FIVE_417
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 418 of 492




EXHIBIT_FIVE_418
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 419 of 492




EXHIBIT_FIVE_419
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 420 of 492




EXHIBIT_FIVE_420
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 421 of 492




EXHIBIT_FIVE_421
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 422 of 492




EXHIBIT_FIVE_422
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 423 of 492




EXHIBIT_FIVE_423
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 424 of 492




EXHIBIT_FIVE_424
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 425 of 492




EXHIBIT_FIVE_425
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 426 of 492




EXHIBIT_FIVE_426
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 427 of 492




EXHIBIT_FIVE_427
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 428 of 492




EXHIBIT_FIVE_428
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 429 of 492




EXHIBIT_FIVE_429
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 430 of 492




EXHIBIT_FIVE_430
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 431 of 492




EXHIBIT_FIVE_431
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 432 of 492




EXHIBIT_FIVE_432
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 433 of 492




EXHIBIT_FIVE_433
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 434 of 492




EXHIBIT_FIVE_434
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 435 of 492




EXHIBIT_FIVE_435
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 436 of 492




EXHIBIT_FIVE_436
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 437 of 492




EXHIBIT_FIVE_437
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 438 of 492




EXHIBIT_FIVE_438
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 439 of 492




EXHIBIT_FIVE_439
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 440 of 492




EXHIBIT_FIVE_440
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 441 of 492




EXHIBIT_FIVE_441
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 442 of 492




EXHIBIT_FIVE_442
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 443 of 492




EXHIBIT_FIVE_443
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 444 of 492




EXHIBIT_FIVE_444
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 445 of 492




EXHIBIT_FIVE_445
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 446 of 492




EXHIBIT_FIVE_446
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 447 of 492




EXHIBIT_FIVE_447
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 448 of 492




EXHIBIT_FIVE_448
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 449 of 492




EXHIBIT_FIVE_449
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 450 of 492




EXHIBIT_FIVE_450
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 451 of 492




EXHIBIT_FIVE_451
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 452 of 492




EXHIBIT_FIVE_452
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 453 of 492




EXHIBIT_FIVE_453
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 454 of 492




EXHIBIT_FIVE_454
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 455 of 492




EXHIBIT_FIVE_455
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 456 of 492




EXHIBIT_FIVE_456
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 457 of 492




EXHIBIT_FIVE_457
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 458 of 492




EXHIBIT_FIVE_458
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 459 of 492




EXHIBIT_FIVE_459
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 460 of 492




EXHIBIT_FIVE_460
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 461 of 492




EXHIBIT_FIVE_461
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 462 of 492




EXHIBIT_FIVE_462
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 463 of 492




EXHIBIT_FIVE_463
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 464 of 492




EXHIBIT_FIVE_464
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 465 of 492




EXHIBIT_FIVE_465
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 466 of 492




EXHIBIT_FIVE_466
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 467 of 492




EXHIBIT_FIVE_467
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 468 of 492




EXHIBIT_FIVE_468
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 469 of 492




EXHIBIT_FIVE_469
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 470 of 492




EXHIBIT_FIVE_470
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 471 of 492




EXHIBIT_FIVE_471
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 472 of 492




EXHIBIT_FIVE_472
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 473 of 492




EXHIBIT_FIVE_473
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 474 of 492




EXHIBIT_FIVE_474
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 475 of 492




EXHIBIT_FIVE_475
EXHIBIT_FIVE
                   Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 476 of 492




EXHIBIT_FIVE_476
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 477 of 492




EXHIBIT_FIVE_477
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 478 of 492




EXHIBIT_FIVE_478
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 479 of 492




EXHIBIT_FIVE_479
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 480 of 492




EXHIBIT_FIVE_480
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 481 of 492




EXHIBIT_FIVE_481
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 482 of 492




EXHIBIT_FIVE_482
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 483 of 492




EXHIBIT_FIVE_483
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 484 of 492




EXHIBIT_FIVE_484
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 485 of 492




EXHIBIT_FIVE_485
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 486 of 492




EXHIBIT_FIVE_486
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 487 of 492




EXHIBIT_FIVE_487
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 488 of 492




EXHIBIT_FIVE_488
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 489 of 492




EXHIBIT_FIVE_489
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 490 of 492




EXHIBIT_FIVE_490
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 491 of 492




EXHIBIT_FIVE_491
EXHIBIT_FIVE
    Case 1:23-cr-00281-DCN Document 63-5 Filed 10/15/24 Page 492 of 492




EXHIBIT_FIVE_492
EXHIBIT_FIVE
